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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

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IN RE: G.E. ERISA LITIGATION                *       Civil Action No. 17-cv-12123-IT
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                            ORDER CONSOLIDATING ACTIONS

                                        March 16, 2020
TALWANI, D.J.

       Pursuant to the parties’ Stipulation [#74], and Judge Casper’s previous consolidation of

Sullivan v. General Electric Company, No. 17-12123-IT (D. Mass.); Powell v. General Electric

Company, No. 17-CV-12139-IT (D. Mass); and LaTorre v. General Electric Company, No. 17-

CV-12267-IT (D. Mass), the court ORDERS as follows:

          1. The Clerk shall consolidate Haskins v. General Electric Company, 18-cv-

              10234-IT (D. Mass.), with the Sullivan, Powell, and LaTorre actions. The

              consolidation shall be for all purposes, including pretrial proceedings,

              trial, and appeal.

          2. The caption of the newly consolidated action shall remain In re: G.E. ERISA

              Litigation, Docket No. 17-cv-12123-IT.



       IT IS SO ORDERED.

                                                            /s/ Indira Talwani
                                                            United States District Judge
